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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA

        v.                                            Case No. 1:23-CR-251 (AKH)

 CHARLIE JAVICE and OLIVIER AMAR,                     [PROPOSED] ORDER OF
                                                      ADMISSION PRO HAC VICE OF
        Defendants.                                   RICHARD M. DE MARIA, ESQ.




       The motion for the admission of Richard M. De Maria, Esq., to practice Pro Hac Vice in

the above-captioned action is hereby GRANTED.

       Applicant has declared that he is a member in good standing of the State Bar of Florida,

and that his contact information is as follows:

       Applicant’s Name: Richard M. De Maria
       Address: 15010 Windbluff St., Davie, FL 33331
       Phone Number: 954-616-9082
       Email: rdemaria1@netscape.net


       Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Charlie Javice in the above-captioned action;

       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

above-captioned action in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to its Local Rules, including the Rules

governing discipline of attorneys.


Dated: ______________________                       ________________________________
                                                     United States District Judge
